 Case 8:20-cv-00043-SB-ADS Document 190-13 Filed 05/14/21 Page 1 of 23 Page ID
                                   #:2712




Summary Judgment Ex. 1l
      Hoose Declaration - Exhibit 13




                                                                        CFPB-JN-0109401
Case 8:20-cv-00043-SB-ADS Document 190-13 Filed 05/14/21 Page 2 of 23 Page ID
                                  #:2713
Case 8:20-cv-00043-SB-ADS Document 190-13 Filed 05/14/21 Page 3 of 23 Page ID
                                  #:2714
Case 8:20-cv-00043-SB-ADS Document 190-13 Filed 05/14/21 Page 4 of 23 Page ID
                                  #:2715
Case 8:20-cv-00043-SB-ADS Document 190-13 Filed 05/14/21 Page 5 of 23 Page ID
                                  #:2716
Case 8:20-cv-00043-SB-ADS Document 190-13 Filed 05/14/21 Page 6 of 23 Page ID
                                  #:2717
Case 8:20-cv-00043-SB-ADS Document 190-13 Filed 05/14/21 Page 7 of 23 Page ID
                                  #:2718
Case 8:20-cv-00043-SB-ADS Document 190-13 Filed 05/14/21 Page 8 of 23 Page ID
                                  #:2719
Case 8:20-cv-00043-SB-ADS Document 190-13 Filed 05/14/21 Page 9 of 23 Page ID
                                  #:2720
Case 8:20-cv-00043-SB-ADS Document 190-13 Filed 05/14/21 Page 10 of 23 Page ID
                                   #:2721
Case 8:20-cv-00043-SB-ADS Document 190-13 Filed 05/14/21 Page 11 of 23 Page ID
                                   #:2722
Case 8:20-cv-00043-SB-ADS Document 190-13 Filed 05/14/21 Page 12 of 23 Page ID
                                   #:2723
Case 8:20-cv-00043-SB-ADS Document 190-13 Filed 05/14/21 Page 13 of 23 Page ID
                                   #:2724
Case 8:20-cv-00043-SB-ADS Document 190-13 Filed 05/14/21 Page 14 of 23 Page ID
                                   #:2725
Case 8:20-cv-00043-SB-ADS Document 190-13 Filed 05/14/21 Page 15 of 23 Page ID
                                   #:2726
Case 8:20-cv-00043-SB-ADS Document 190-13 Filed 05/14/21 Page 16 of 23 Page ID
                                   #:2727
Case 8:20-cv-00043-SB-ADS Document 190-13 Filed 05/14/21 Page 17 of 23 Page ID
                                   #:2728
Case 8:20-cv-00043-SB-ADS Document 190-13 Filed 05/14/21 Page 18 of 23 Page ID
                                   #:2729
Case 8:20-cv-00043-SB-ADS Document 190-13 Filed 05/14/21 Page 19 of 23 Page ID
                                   #:2730
Case 8:20-cv-00043-SB-ADS Document 190-13 Filed 05/14/21 Page 20 of 23 Page ID
                                   #:2731
Case 8:20-cv-00043-SB-ADS Document 190-13 Filed 05/14/21 Page 21 of 23 Page ID
                                   #:2732
Case 8:20-cv-00043-SB-ADS Document 190-13 Filed 05/14/21 Page 22 of 23 Page ID
                                   #:2733
Case 8:20-cv-00043-SB-ADS Document 190-13 Filed 05/14/21 Page 23 of 23 Page ID
                                   #:2734
